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                             Exhibit 1
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 1    Parties and counsel listed on signature pages

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                       SAN FRANCISCO DIVISION
11

12                                                        MDL No. 3047
13   IN RE: SOCIAL MEDIA ADOLESCENT                       Case No. 4:22-md-03047-YGR-PHK
     ADDICTION/PERSONAL INJURY
14   PRODUCTS LIABILITY LITIGATION                        STATE ATTORNEY GENERAL
                                                          PLAINTIFFS’ AND META
15   THIS DOCUMENT RELATES TO:                            DEFENDANTS’ JOINT SUBMISSION
                                                          REGARDING STATE AGENCIES
16       People of the State of California v. Meta        PURSUANT TO DISCOVERY
         Platforms, Inc., 4:23-cv-05448;                  MANAGEMENT ORDER NO. 3
17
         Office of the Attorney General, State of
18       Florida, Department of Legal Affairs v.          Honorable Yvonne Gonzalez Rogers
         Meta Platforms, Inc., 4:23-cv-05885;             Honorable Peter H. Kang
19
         State of Montana, ex rel. Austin Knudsen,
20       Attorney General v. Meta Platforms, Inc.,
         4:24-cv-00805.
21

22

23
             Pursuant to the Court’s Discovery Management Order No. 3 (Dkt. 667), the State
24
      Attorneys General and Meta Defendants submit the following chart. Meta identified the list of
25
      agencies. The State Attorneys General have prepared a response with regard to each listed entity.
26
      The consolidated chart is below.
27

28                                                    1
              STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION
        REGARDING STATE AGENCIES PURSUANT TO DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-
                                                                                 03047)
                          Case 4:22-md-03047-YGR          Document 736-1        Filed 04/01/24      Page 3 of 37




                                                                                 Category 2 - Upon receipt
                                                                                 of a subpoena, this entity Category 3 - If served
                                                                                  has discretion to utilize   with a subpoena, this
                                                                                   its in-house counsel or        entity would be
                                                                                   retain outside counsel,        represented by
                                                       Category 1 - If served     which could include the       attorneys from the
                                                       with a subpoena, this          Attorney General’s       Attorney General’s
                                                        entity would not be       Office, or in some cases,   Office. In most cases,
  No. 1       Agency Name 2
                                                        represented by the         private counsel. Unless     these lawyers would
                                                        Attorney General’s        and until an actual Rule not be members of the
                                                               Office.              45 subpoena has been      prosecution team, but
                                                                                       served, the State         rather lawyers in
                                                                                 Attorneys General cannot other divisions of the
                                                                                  speculate as to how this     Attorney General’s
                                                                                     entity may choose to              Office.
                                                                                   exercise its discretion. 3
    1         Arizona Board of Regents                            x
    2         Arizona Commerce Authority                          x
    3         Arizona Department of Child Safety                                                                          x

          1
         The State Attorneys General have requested the opportunity to submit further letter briefing on these issues to be submitted by
March 15, 2024. Meta does not oppose this request. In providing the information in this joint submission, the State Attorneys General
reserve all rights to object to discovery requests.
          2
         The following list represents Meta’s good-faith effort to identify government entities that may possess information relevant to
the claims or defenses at issue in the cases brought by the Plaintiff States against Meta in this MDL. In the event that Meta becomes
aware of additional entities that may possess relevant information, Meta may supplement this list.
          3
         With respect to certain agencies in a subset of states, the agency may request representation by the State Attorney General, who
would assess each request and may accept or decline it. In other cases, the agency requires the consent of the State Attorney General to
be represented by in-house or private counsel. In some cases, the agency would be represented by in-house counsel in responding to a
subpoena, but in the event of motions practice related to the subpoenas, would be represented by outside counsel to appear in court,
which could include lawyers from the State Attorney General’s Office.
                                                     2
 STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                 DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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No. 1   Agency Name 2
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                                                  Attorney General’s       and until an actual Rule not be members of the
                                                         Office.             45 subpoena has been      prosecution team, but
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
  4     Arizona Department of Education                    x
  5     Arizona Department of Health Services                                                                    x
  6     Arizona Governor’s Office                          x
  7     Arizona Governor's Office of Strategic
                                                           x
        Planning and Budgeting
  8     Arizona Office of Economic
                                                                                                                 x
        Opportunity
  9     Arizona State Board of Education                                                                         x
 10     California Business, Consumer
                                                                                      x
        Services, and Housing Agency
 11     California Department of Child Support
                                                                                      x
        Services
 12     California Department of Consumer
                                                                                      x
        Affairs
 13     California Department of Education                                            x
                                                    3
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 14     California Department of Finance                                                x
 15     California Department of Health Care
                                                                                      x
        Services
 16     California Department of Public Health                                        x
 17     California Office of the Governor                                             x
 18     California Governor’s Office of
                                                                                      x
        Business and Economic Development
 19     California Health and Human Services
                                                                                      x
        Agency
 20     California Mental Health Services
        Oversight and Accountability                                                  x
        Commission
 21     California Office of Data and
                                                                                      x
        Innovation
 22     California School Finance Authority                                           x
                                                    4
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                               served, the State         rather lawyers in
                                                                         Attorneys General cannot other divisions of the
                                                                          speculate as to how this     Attorney General’s
                                                                             entity may choose to              Office.
                                                                           exercise its discretion. 3
 23     Colorado Behavioral Health
                                                                                                                x
        Administration
 24     Colorado Department of Education                                                                        x
 25     Colorado Department of Higher
                                                                                                                x
        Education
 26     Colorado Department of Human
                                                                                                                x
        Services
 27     Colorado Department of Regulatory
                                                                                                                x
        Agencies
 28     Colorado Office of the Governor                                                                         x
 29     Colorado Office of Economic
                                                                                                                x
        Development & International Trade
 30     Colorado Office of State Planning and
                                                                                                                x
        Budgeting

                                                    5
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                         Office.             45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 31     Connecticut Commission for
                                                                                      x
        Educational Technology
 32     Connecticut Department of Consumer
                                                                                                                 x
        Protection
 33     Connecticut Department of Economic
                                                                                      x
        and Community Development
 34     Connecticut Department of Education                                           x
 35     Connecticut Department of Mental
                                                                                      x
        Health and Addiction Services
 36     Connecticut Department of Public
                                                                                      x
        Health
 37     Connecticut Department of Children and
                                                                                      x
        Families
 38     Connecticut Office of Health Strategy                                         x
 39     Connecticut Office of Higher Education                                        x
                                                    6
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                       Attorneys General cannot other divisions of the
                                                                        speculate as to how this     Attorney General’s
                                                                           entity may choose to              Office.
                                                                         exercise its discretion. 3
 40     Connecticut Office of Policy and
                                                                                   x
        Management
 41     Connecticut Office of the Child
                                                                                   x
        Advocate
 42     Connecticut Office of the Governor                                         x
 43     Connecticut Office of the State
                                                                                   x
        Comptroller
 44     Delaware Department of Education                                           x
 45     Delaware Department of Health and
                                                                                   x
        Social Services
 46     Delaware Department of Services for
                                                                                   x
        Children, Youth and Families
 47     Delaware Office of Management and
                                                                                   x
        Budget
 48     Delaware Office of the Governor                                            x
                                                    7
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                         Attorneys General cannot other divisions of the
                                                                          speculate as to how this     Attorney General’s
                                                                             entity may choose to              Office.
                                                                           exercise its discretion. 3
 49     Florida Commerce                                  x
 50     Florida Department of Agriculture and
                                                          x
        Consumer Services
 51     Florida Department of Children and
                                                          x
        Families
 52     Florida Department of Education                   x
 53     Florida Department of Health                      x
 54     Florida Office of Governor                        x
 55     Georgia Board of Regents                                                     x
 56     Georgia Department of Behavioral
                                                                                     x
        Health and Developmental Disabilities
 57     Georgia Department of Economic
                                                                                     x
        Development
 58     Georgia Department of Education                                              x

                                                    8
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          speculate as to how this     Attorney General’s
                                                                             entity may choose to              Office.
                                                                           exercise its discretion. 3
 59     Georgia Department of Family and
                                                                                     x
        Children Services
 60     Georgia Department of Human Services                                         x
 61     Georgia Department of Public Health                                          x
 62     Georgia Governor’s Office                                                    x
 63     Georgia Office of the Child Advocate                                         x
 64     Hawaii Department of Budget and
                                                                                                                x
        Finance
 65     Hawaii Department of Business,
                                                                                                                x
        Economic Development & Tourism
 66     Hawaii Department of Commerce &
                                                                                                                x
        Consumer Affairs
 67     Hawaii Department of Education                                                                          x
 68     Hawaii Department of Health                                                                             x
 69     Hawaii Department of Human Services                                                                     x
                                                    9
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 70     Hawaii Governor                                                                                           x
 71     Hawaii State Council on Mental Health                                                                     x
 72     Idaho Commerce Department                                                       x
 73     Idaho Education Board                                                           x
 74     Idaho Education Department                                                      x
 75     Idaho Governor’s Office                                                         x
 76     Idaho Health & Welfare Department                                               x
 77     Illinois Board of Education                                                     x
 78     Illinois Board of Higher Education                                              x
 79     Illinois Department of Children and
                                                                                      x
        Family Services
 80     Illinois Department of Commerce and
                                                                                      x
        Economic Opportunity
 81     Illinois Department of Human Services                                         x

                                                    10
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 82     Illinois Department of Public Health                                            x
 83     Illinois Office of the Governor                                                 x
 84     Commission on Improving the Status of
                                                                                      x
        Children in Indiana
 85     Indiana Department of Child Services                                          x
 86     Indiana Department of Education                                               x
 87     Indiana Department of Health                                                  x
 88     Indiana Economic Development
                                                                                      x
        Corporation
 89     Indiana Family and Social Services
                                                                                      x
        Administration
 90     Indiana Governor                                                              x
 91     Indiana Office of Management and
                                                                                      x
        Budget
 92     Indiana State Board of Education                                              x
                                                    11
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                        Attorneys General cannot other divisions of the
                                                                         speculate as to how this     Attorney General’s
                                                                            entity may choose to              Office.
                                                                          exercise its discretion. 3
 93     Kansas Board of Regents                         x
 94     Kansas Department for Aging and
                                                        x
        Disability Services
 95     Kansas Department for Children and
                                                        x
        Families
 96     Kansas Department of Administration             x
 97     Kansas Department of Commerce                   x
 98     Kansas Department of Education                  x
 99     Kansas Department of Health &
                                                        x
        Environment
 100    Kansas Governor                                 x
 101    Kentucky Board of Education                                                 x
 102    Kentucky Cabinet for Health and
                                                                                    x
        Family Services

                                                    12
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Attorneys General cannot other divisions of the
                                                                            speculate as to how this     Attorney General’s
                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 103    Kentucky Department for Behavioral
        Health, Developmental and Intellectual                                         x
        Disabilities
 104    Kentucky Department for Business
                                                                                       x
        Development
 105    Kentucky Department for Public Health                                          x
 106    Kentucky Department of Education                                               x
 107    Kentucky Finance and Administration
                                                                                       x
        Cabinet
 108    Kentucky Governor                                                              x
 109    Kentucky Office of State Budget
                                                                                       x
        Director
 110    Louisiana Department of Children and
                                                                                       x
        Family Services
 111    Louisiana Department of Education                                              x
                                                    13
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           entity may choose to              Office.
                                                                         exercise its discretion. 3
 112    Louisiana Department of Health                                               x
 113    Louisiana Economic Development                                               x
 114    Louisiana Office of Planning and
                                                                                   x
        Budget
 115    Louisiana Office of the Governor                                           x
 116    Maine Department of Economic &
                                                                                                              x
        Community Development
 117    Maine Department of Education                                                                         x
 118    Maine Department of Health & Human
                                                                                                              x
        Services
 119    Maine Department of Administrative
                                                                                                              x
        and Financial Services
 120    Maine Governor’s Office                                                                               x
 121    Maryland Center for School Safety                                          x

                                                    14
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                      Attorneys General cannot other divisions of the
                                                                       speculate as to how this     Attorney General’s
                                                                          entity may choose to              Office.
                                                                        exercise its discretion. 3
 122    Maryland Department of Budget and
                                                                                  x
        Management
 123    Maryland Department of Commerce                                           x
 124    Maryland Department of Health                                             x
 125    Maryland Department of Human
                                                                                  x
        Services
 126    Maryland Governor’s Office                                                x
 127    Maryland Higher Education
                                                                                  x
        Commission
 128    Maryland State Department of
                                                                                  x
        Education
 129    Michigan Department of Education                                          x
 130    Michigan Department of Health and
                                                                                  x
        Human Services

                                                    15
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
                                                                          of a subpoena, this entity Category 3 - If served
                                                                           has discretion to utilize   with a subpoena, this
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                                                                            retain outside counsel,        represented by
                                                Category 1 - If served     which could include the       attorneys from the
                                                with a subpoena, this          Attorney General’s       Attorney General’s
                                                 entity would not be       Office, or in some cases,   Office. In most cases,
No. 1   Agency Name 2
                                                 represented by the         private counsel. Unless     these lawyers would
                                                 Attorney General’s        and until an actual Rule not be members of the
                                                        Office.              45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 131    Michigan Department of Labor and
                                                                                      x
        Economic Opportunity
 132    Michigan Department of Lifelong
                                                                                      x
        Education, Advancement, and Potential
 133    Michigan Executive Office of the
                                                                                      x
        Governor
 134    Michigan State Budget Office                                                  x
 135    Minnesota Department of Commerce                                              x
 136    Minnesota Department of Health                                                x
 137    Minnesota Department of Human
                                                                                      x
        Services
 138    Minnesota Education Department                                                x
 139    Minnesota Employment and Economic
                                                                                      x
        Development Department
 140    Minnesota Governor’s Office                                                   x
                                                    16
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Category 2 - Upon receipt
                                                                           of a subpoena, this entity Category 3 - If served
                                                                            has discretion to utilize   with a subpoena, this
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                                                                                 served, the State         rather lawyers in
                                                                           Attorneys General cannot other divisions of the
                                                                            speculate as to how this     Attorney General’s
                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 141    Minnesota Office of Higher Education                                             x
 142    Minnesota Management and Budget                                                  x
 143    Missouri Department of Economic
                                                                                       x
        Development
 144    Missouri Department of Elementary and
                                                                                       x
        Secondary Education
 145    Missouri Department of Health and
                                                                                       x
        Senior Services
 146    Missouri Department of Higher
                                                                                       x
        Education & Workforce Development
 147    Missouri Department of Mental Health                                           x
 148    Missouri Department of Social Services
                                                                                       x
        Missouri Office of Administration
 149    Missouri Office of the Child Advocate                                          x
 150    Missouri Governor’s Office                                                     x
                                                    17
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 151    Montana Board of Public Education                                               x
 152    Montana Department of Commerce                                                  x
 153    Montana Department of Public Health
                                                                                      x
        and Human Services
 154    Montana Governor’s Office                                                     x
 155    Montana Office of the Commissioner of
                                                                                      x
        Higher Education
 156    Montana Office of Public Instruction                                          x
 157    Nebraska Children’s Commission                                                x
 158    Nebraska Department of Administrative
                                                                                      x
        Services
 159    Nebraska Department of Economic
        Development Nebraska Department of                                            x
        Education

                                                    18
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 160    Nebraska Department of Health and
                                                                                      x
        Human Services
 161    Nebraska Governor                                 x
 162    New Jersey Department of Children &
                                                                                                                 x
        Families
 163    New Jersey Department of Education                                                                       x
 164    New Jersey Department of Health                                                                          x
 165    New Jersey Department of Human
                                                                                                                 x
        Services
 166    New Jersey Department of the Treasury                                                                    x
 167    New Jersey Economic Development
                                                                                      x
        Authority
 168    New Jersey Governor’s Council on
                                                                                                                 x
        Mental Health Stigma
 169    New Jersey Office of the Governor                                             x
                                                    19
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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                                                        Office.              45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 170    New Jersey Office of the Secretary of
                                                                                                                 x
        Higher Education
 171    Empire State Development                                                      x
 172    New York Council on Children and
                                                                                      x
        Families
 173    New York Department of Education                                              x
 174    New York Department of Health                                                 x
 175    New York Department of State                                                  x
 176    New York Higher Education Services
                                                                                      x
        Corporation
 177    New York Office of Children and
                                                                                      x
        Family Services
 178    New York Office of Mental Health                                              x
 179    New York Office of the Governor                                               x
 180    New York State Division of the Budget                                         x
                                                    20
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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                                                 Attorney General’s        and until an actual Rule not be members of the
                                                        Office.              45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 181    North Carolina Department of
                                                          x
        Commerce
 182    North Carolina Department of Health
                                                                                      x
        and Human Services
 183    North Carolina Department of Public
                                                                                      x
        Instruction
 184    North Carolina Office of Governor                                             x
 185    North Carolina Office of State Budget
                                                                                      x
        and Management
 186    North Dakota Commerce                                                         x
 187    North Dakota Department of Health and
                                                                                      x
        Human Services
 188    North Dakota Department of Public
                                                                                      x
        Instruction


                                                    21
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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No. 1   Agency Name 2
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                                                 Attorney General’s        and until an actual Rule not be members of the
                                                        Office.              45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 189    North Dakota Education Standards and
                                                                                      x
        Practices Board
 190    North Dakota Office of Management
                                                                                      x
        and Budget
 191    North Dakota Office of the Governor                                           x
 192    Ohio Department of Children and Youth                                         x
 193    Ohio Department of Development                                                x
 194    Ohio Department of Education &
                                                                                      x
        Workforce
 195    Ohio Department of Health                                                     x
 196    Ohio Department of Higher Education                                           x
 197    Ohio Department of Job and Family
                                                                                      x
        Services
 198    Ohio Department of Mental Health &
                                                                                      x
        Addiction Services
                                                    22
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                         Category 2 - Upon receipt
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No. 1   Agency Name 2
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                                                Attorney General’s        and until an actual Rule not be members of the
                                                       Office.              45 subpoena has been      prosecution team, but
                                                                               served, the State         rather lawyers in
                                                                         Attorneys General cannot other divisions of the
                                                                          speculate as to how this     Attorney General’s
                                                                             entity may choose to              Office.
                                                                           exercise its discretion. 3
 199    Ohio Department of Youth Services                                              x
 200    Ohio Office of Budget and Management                                           x
 201    Ohio Governor                                                                  x
 202    Business Oregon                                                                                          x
 203    Governor of Oregon                                                                                       x
 204    Oregon Department of Administrative
                                                                                                                x
        Services
 205    Oregon Department of Consumer and
                                                                                                                x
        Business Services
 206    Oregon Department of Education                                                                          x
 207    Oregon Department of Human Services                                                                     x
 208    Oregon Health Authority                                                                                 x
 209    Oregon Higher Education Coordinating
                                                                                                                x
        Commission

                                                    23
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                         Category 2 - Upon receipt
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No. 1   Agency Name 2
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                                                Attorney General’s        and until an actual Rule not be members of the
                                                       Office.              45 subpoena has been      prosecution team, but
                                                                               served, the State         rather lawyers in
                                                                         Attorneys General cannot other divisions of the
                                                                          speculate as to how this     Attorney General’s
                                                                             entity may choose to              Office.
                                                                           exercise its discretion. 3
 210    Pennsylvania Department of
        Communities and Economic                                                     x
        Development
 211    Pennsylvania Department of Education                                         x
 212    Pennsylvania Department of Health                                            x
 213    Pennsylvania Department of Human
                                                                                     x
        Services
 214    Pennsylvania Governor’s Office                                               x
 215    Pennsylvania Office of the Budget                                            x
 216    Rhode Island Board of Governors for
                                                                                     x
        Higher Education
 217    Rhode Island Department of
                                                                                     x
        Administration



                                                    24
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Category 2 - Upon receipt
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                                                         Office.              45 subpoena has been      prosecution team, but
                                                                                 served, the State         rather lawyers in
                                                                           Attorneys General cannot other divisions of the
                                                                            speculate as to how this     Attorney General’s
                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 218    Rhode Island Department of Behavioral
        Healthcare, Developmental Disabilities                                         x
        and Hospitals
 219    Rhode Island Department of Children,
                                                                                       x
        Youth, and Families
 220    Rhode Island Department of Education                                           x
 221    Rhode Island Department of Health                                              x
 222    Rhode Island Department of Human
                                                                                       x
        Services
 223    Rhode Island Executive Office of
                                                                                       x
        Health and Human Services
 224    Rhode Island Office of Governor                                                x
 225    Rhode Island Office of the Child
                                                                                       x
        Advocate

                                                    25
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Category 2 - Upon receipt
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No. 1   Agency Name 2
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                                                         Office.              45 subpoena has been      prosecution team, but
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                                                                           Attorneys General cannot other divisions of the
                                                                            speculate as to how this     Attorney General’s
                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 226    South Carolina Commission on Higher
                                                                                       x
        Education
 227    South Carolina Department of
                                                                                       x
        Administration Executive Budget Office
 228    South Carolina Department of
                                                                                       x
        Children’s Advocacy
 229    South Carolina Department of
                                                                                       x
        Commerce
 230    South Carolina Department of
                                                                                       x
        Consumer Affairs
 231    South Carolina Department of
                                                                                       x
        Education
 232    South Carolina Department of Health
                                                                                       x
        and Human Services


                                                    26
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 233    South Carolina Department of Mental
                                                                                      x
        Health
 234    South Carolina Department of Social
                                                                                      x
        Services
 235    South Carolina Education Oversight
                                                                                      x
        Committee
 236    South Carolina Office of the Governor                                         x
 237    South Dakota Board of Regents                                                 x
 238    South Dakota Bureau of Finance and
                                                                                      x
        Management
 239    South Dakota Department of Education                                          x
 240    South Dakota Department of Health                                             x
 241    South Dakota Department of Social
                                                                                      x
        Services
 242    South Dakota Governor’s Office                                                x
                                                    27
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Category 2 - Upon receipt
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                                                                           Attorneys General cannot other divisions of the
                                                                            speculate as to how this     Attorney General’s
                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 243    South Dakota Governor’s Office of
                                                                                       x
        Economic Development
 244    Virginia Department of Behavioral
                                                                                                                  x
        Health and Developmental Services
 245    Virginia Department of Education                                                                          x
 246    Virginia Department of Health                                                                             x
 247    Virginia Department of Planning and
                                                                                                                  x
        Budget
 248    Virginia Department of Social Services                                                                    x
 249    Virginia Economic Development
                                                                                                                  x
        Partnership
 250    Virginia Foundation for Healthy Youth                                                                     x
 251    Virginia Office of Children’s Services                                                                    x
 252    Virginia Office of the Governor                                                                           x

                                                    28
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                          Category 2 - Upon receipt
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                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 253    Washington Department of Children,
                                                                                                                 x
        Youth, and Families
 254    Washington Department of Health                                                                          x
 255    Washington Health Care Authority                                                                         x
 256    Washington Office of Financial
                                                                                                                 x
        Management
 257    Washington Office of the Governor                                                                        x
 258    Washington State Board of Education                                                                      x
 259    Washington State Board of Health                                                                         x
 260    Washington State Department of
                                                                                                                 x
        Commerce
 261    Washington State Department of Health                                                                    x
 262    Washington State Department of Social
                                                                                                                 x
        and Health Services

                                                    29
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
                                                                DISCOVERY MANAGEMENT ORDER NO. 3 (4:22-md-03047)
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                                                                           Category 2 - Upon receipt
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                                                                           Attorneys General cannot other divisions of the
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                                                                               entity may choose to              Office.
                                                                             exercise its discretion. 3
 263    West Virginia Bureau for Children and
                                                                                       x
        Families
 264    West Virginia Department of Education                                          x
 265    West Virginia Department of Health and
                                                                                       x
        Human Resources
 266    West Virginia Development Office                                               x
 267    West Virginia Governor’s Office                                                x
 268    West Virginia State Budget Office                                              x
 269    West Virginia State Department of
                                                                                       x
        Education
 270    Wisconsin Department of
                                                                                       x
        Administration
 271    Wisconsin Department of Children and
                                                                                       x
        Families

                                                    30
STATE ATTORNEY GENERAL PLAINTIFFS’ AND META DEFENDANTS’ JOINT SUBMISSION REGARDING STATE AGENCIES PURSUANT TO
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                                                                          Category 2 - Upon receipt
                                                                          of a subpoena, this entity Category 3 - If served
                                                                           has discretion to utilize   with a subpoena, this
                                                                            its in-house counsel or        entity would be
                                                                            retain outside counsel,        represented by
                                                Category 1 - If served     which could include the       attorneys from the
                                                with a subpoena, this          Attorney General’s       Attorney General’s
                                                 entity would not be       Office, or in some cases,   Office. In most cases,
No. 1   Agency Name 2
                                                 represented by the         private counsel. Unless     these lawyers would
                                                 Attorney General’s        and until an actual Rule not be members of the
                                                        Office.              45 subpoena has been      prosecution team, but
                                                                                served, the State         rather lawyers in
                                                                          Attorneys General cannot other divisions of the
                                                                           speculate as to how this     Attorney General’s
                                                                              entity may choose to              Office.
                                                                            exercise its discretion. 3
 272    Wisconsin Department of Health
                                                                                      x
        Services
 273    Wisconsin Department of Public
                                                                                      x
        Instruction
 274    Wisconsin Office of Children’s Mental
                                                                                      x
        Health
 275    Wisconsin Governor                                                            x




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 1
       Dated: March 11, 2024                       Respectfully submitted,
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